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                                     Law Offices of
                                 Joshua Stevens, Esq.
                                45 Broadway, Suite 2701
                                                               MEMO ENDORSED
                                 New York, NY 10006
                                  Tel # (718) 640.5060

November 4, 2020


Hon. Katherine Polk Failla
Thurgood Marshall Courthouse
40 Foley Square, Courtroom 618
New York, NY 10007

Request For Adjournment: United States v. Emeka Nnawuba, 18-cr-117-06

Your Honor:

I represent Mr. Nnawuba in the above-referenced matter, which is currently scheduled for
sentencing on November 16, 2020 at 3:00pm. Mr. Nnawuba is currently out at liberty on
bond and has been fully compliant with all requirements set forth by pretrial services.

We are requesting an adjournment of 90 days for the following reasons. First, although
Mr. Nnawuba greatly prefers to address the Court in person at the time of his sentencing
at an in-person hearing, due to the current ongoing pandemic this would be a great health
hazard, not only to Mr. Nnawuba and his family, but also to the Court, its personnel, and
the parties. Second, and equally important, Mr. Nnawuba and his family, which includes
his wife, and two young children, would be traveling from Arkansas, a state where those
who are travelling to New York are required to quarantine for 14 days1. To quarantine for
14 days will require Mr. Nnawuba and his family to stay in a hotel and will cause an
extreme financial hardship.

Accordingly, due to the health risks not only to the Defendant, but also to the
Government, Court personnel and the undersigned, we are asking the Court to adjourn
the matter for 90 days. Mr. Nnawuba also consents to waiving all applicable time under
the Speedy Trial Act.

Respectfully submitted,

-s-

Joshua Stevens, Esq.



1https://www.governor.ny.gov/news/governor-­‐cuomo-­‐announces-­‐three-­‐states-­‐
added-­‐travel-­‐advisory
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